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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION

J.O.P., et al.,
Plaintiffs,
Case No. 8:19-cv-01944-SAG

Vv.

U.S. DEPARTMENT OF HOMELAND
SECURITY, ef al.

Defendants.

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DEFENDANTS’ RESPONSE TO PLAINTIFF’S JULY 18, 2025 LETTER

Pursuant to this Court’s July 18, 2025 order, Defendants provide the following response as
to 1) Cristian’s current location and 2) whether he is being transported to Venezuela. ECF No. 351.

Pursuant to AD Harper’s declaration filed today, July 18, the Salvadoran government, in
the sole exercise of its sovereign authority, released Cristian from CECOT, to be flown to his home
country of Venezuela. ECF No. 352. Accordingly, Cristian was transported to Venezuela via
Venezuelan Conviasa aircraft and is either currently in Venezuela or will arrive there shortly.

As evidenced in AD Harper’s declaration, the United States obtained assurances from the
Maduro regime that (1) if and when U.S. legal proceedings reach a stage where the appearance of
one of the 252 Venezuelan nationals formerly housed at CECOT may be called for in legal
proceedings or required by a court; (2) if the U.S. government is prepared to facilitate the person’s
travel to the United States for that purpose; and (3) if the individual is willing to travel to the United
States for that purpose, the Maduro regime will not impose obstacles to the individual’s travel.
ECF No. 352.

With these assurances now having been obtained, and Cristian now having been released
from El Salvador’s custody, the Department of State has pledged to assist the Department of

Homeland Security in facilitating the return of Cristian should he wish to return.
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Hf
Dated: July 18, 2025 Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that on July 18, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

/s/ Erhan Bedestani

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